      Case 4:20-cv-00210 Document 40 Filed on 09/24/18 in TXSD Page 1 of 24



                      IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION


LLOYD BARRETT, MABLE BRACAMONTE, DANA                                                   PLAINTIFFS
CASH, KENDALL CRAIG, ROBERT DAVIS, MATT
FOSSE, TIMOTHY GEORGE, BRODERICK
GHANT, JENNIE HAMPTON-DUNCAN, TOBY
HOLLIDAY, CARL HYDE, EBONY KNOX, LOGAN
LANGE, STEPHANIE MARTIN, JANNA MARTING,
CHRIS McGREW, ANTHONY MOORMAN,
WALTER MORAN, MARIO MORENO, ROBERT
REID, KASI ROSS, BILLY ROY, NORRIS
RUSSELL, SAM SHOPE, CONNIE STARK, JAMES
WEAVER, SETH WILLIAMSON and AARON
McROBERTS


vs.                                      4:18-cv-4-JM


EXPRESS COURIER INTERNATIONAL, INC.                                                    DEFENDANTS


               SECOND AMENDED AND SUBSTITUTED COMPLAINT


       COME NOW Plaintiffs Lloyd Barrett, Mable Bracamonte, Dana Cash, Kendall

Craig, Robert Davis, Matt Fosse, Timothy George, Broderick Ghant, Jennie Hampton-

Duncan, Toby Holliday, Carl Hyde, Ebony Knox, Logan Lange, Stephanie Martin, Janna

Marting, Chris McGrew, Anthony Moorman, Walter Moran, Mario Moreno, Robert Reid,

Kasi Ross, Billy Roy, Norris Russell, Sam Shope, Connie Stark, James Weaver, Seth

Williamson and Aaron McRoberts (“Plaintiffs”), by and through their attorneys Joshua

West and Josh Sanford of Sanford Law Firm, PLLC, and for their Second Amended and

Substituted Complaint (“Complaint”) against Defendant Express Courier International,

Inc., (“Defendant”), and in support thereof does hereby state and allege as follows:

                                           Page 1 of 24
                Lloyd Barrett, et al. v. Express Courier International, Inc., et al.
                             U.S.D.C. (E.D. Ark.) No. 4:18-cv-4-JM
                        Second Amended and Substituted Complaint
    Case 4:20-cv-00210 Document 40 Filed on 09/24/18 in TXSD Page 2 of 24



                          I.      PRELIMINARY STATEMENTS

      1.     Plaintiffs bring this action under the Fair Labor Standards Act, 29 U.S.C. §

201, et seq. (“FLSA”), and the Arkansas Minimum Wage Act, Arkansas Code Annotated

§ 11-4-201, et seq., for declaratory judgment, monetary damages, liquidated damages,

prejudgment interest, and a reasonable attorney’s fee and costs, as a result of

Defendant’s failure to pay Plaintiffs minimum and overtime wages as required by law.

                           II.     JURISDICTION AND VENUE

      2.     The United States District Court for the Eastern District of Arkansas has

subject matter jurisdiction over this suit under the provisions of 28 U.S.C. § 1331

because this suit raises federal questions under the FLSA.

      3.     Defendant conducts business within the State of Arkansas, providing

courier/delivery services within the State of Arkansas.

      4.     Venue lies properly within this Court under 28 U.S.C. § 1391(b)(1) and

(c)(2), because the State of Arkansas has personal jurisdiction over Defendant, and

Defendant therefore “resides” in Arkansas.

      5.     A substantial part of the acts complained of herein were committed and

had their principal effect against Plaintiffs within the Western Division of the Eastern

District of Arkansas; venue is proper in this Court pursuant to 28 U.S.C. § 1391.

      6.     Plaintiffs’ claims under the AMWA form part of the same case, and rely on

the same facts, as the FLSA claims alleged in this complaint.

      7.     Therefore, this Court has supplemental jurisdiction over Plaintiffs’ AMWA

claims pursuant to 28 U.S.C. § 1367(a).



                                           Page 2 of 24
                Lloyd Barrett, et al. v. Express Courier International, Inc., et al.
                             U.S.D.C. (E.D. Ark.) No. 4:18-cv-4-JM
                        Second Amended and Substituted Complaint
    Case 4:20-cv-00210 Document 40 Filed on 09/24/18 in TXSD Page 3 of 24



                                     III.    THE PARTIES

      8.       Plaintiff Lloyd Barrett is an individual and resident of the State of

Arkansas.

      9.       Plaintiff Mable Bracamonte is an individual and resident of the State of

Arkansas.

      10.      Plaintiff Dana Cash is an individual and resident of the State of Arkansas.

      11.      Plaintiff Kendall Craig is an individual and resident of the State of

Arkansas.

      12.      Plaintiff Robert Davis is an individual and resident of the State of

Arkansas.

      13.      Plaintiff Matt Fosse is an individual and resident of the State of Arkansas.

      14.      Plaintiff Timothy George is an individual and resident of the State of

Arkansas.

      15.      Plaintiff Broderick Ghant is an individual and resident of the State of

Arkansas.

      16.      Plaintiff Jennie Hampton-Duncan is an individual and resident of the State

of Arkansas.

      17.      Plaintiff Toby Holliday is an individual and resident of the State of

Arkansas.

      18.      Plaintiff Carl Hyde is an individual and resident of the State of Arkansas.

      19.      Plaintiff Ebony Knox is an individual and resident of the State of Arkansas.

      20.      Plaintiff Logan Lange is an individual and resident of the State of

Arkansas.

                                            Page 3 of 24
                 Lloyd Barrett, et al. v. Express Courier International, Inc., et al.
                              U.S.D.C. (E.D. Ark.) No. 4:18-cv-4-JM
                         Second Amended and Substituted Complaint
    Case 4:20-cv-00210 Document 40 Filed on 09/24/18 in TXSD Page 4 of 24



      21.   Plaintiff Stephanie Martin is an individual and resident of the State of

Arkansas.

      22.   Plaintiff Janna Marting is an individual and resident of the State of

Arkansas.

      23.   Plaintiff Chris McGrew is an individual and resident of the State of

Arkansas.

      24.   Plaintiff Anthony Moorman is an individual and resident of the State of

Arkansas.

      25.   Plaintiff Walter Moran is an individual and resident of the State of

Arkansas.

      26.   Plaintiff Mario Moreno is an individual and resident of the State of

Arkansas.

      27.   Plaintiff Robert Reid is an individual and resident of the State of Arkansas.

      28.   Plaintiff Kasi Ross is an individual and resident of the State of Arkansas.

      29.   Plaintiff Billy Roy is an individual and resident of the State of Arkansas.

      30.   Plaintiff Norris Russell is an individual and resident of the State of

Arkansas.

      31.   Plaintiff Sam Shope is an individual and resident of the State of Arkansas.

      32.   Plaintiff Connie Stark is an individual and resident of the State of

Arkansas.

      33.   Plaintiff James Weaver is an individual and resident of the State of

Arkansas.



                                         Page 4 of 24
              Lloyd Barrett, et al. v. Express Courier International, Inc., et al.
                           U.S.D.C. (E.D. Ark.) No. 4:18-cv-4-JM
                      Second Amended and Substituted Complaint
    Case 4:20-cv-00210 Document 40 Filed on 09/24/18 in TXSD Page 5 of 24



      34.    Plaintiff Seth Williamson is an individual and resident of the State of

Arkansas.

      35.    Plaintiff Aaron McRoberts is an individual and resident of the State of

Arkansas.

      36.    At all times relevant to this Complaint, each Plaintiff performed courier

services for Defendant within the State of Arkansas.

      37.    Defendant Express Courier International, Inc. (“Express”), is a foreign, for-

profit corporation, registered to conduct business within the State of Arkansas.

      38.    Express has designated The Corporation Company at 124 West Capitol

Avenue, Suite 1900, Little Rock, Arkansas 72201, to accept service on its behalf.

      39.    Defendant EMP LSO Holding Corporation is a foreign, for-profit

corporation, whose principle place of business is 3060 Peachtree Road NW, Suite 360,

Atlanta, Georgia 30305.

      40.    Defendant provides on-demand and scheduled courier services.

      41.    Defendant’s primary business purpose is to provide courier/delivery

services, and Defendant engages couriers/drivers to accomplish this goal.

      42.    Courier/delivery services are at least one integral part of Defendant’s

business.

      43.    Defendant’s annual gross volume of sales made or business done was not

less than $500,000.00 (exclusive of excise taxes at the retail level that are separately

stated) during each of the three calendar years preceding the filing of this Complaint.

      44.    Defendant has at least two employees that handle, sell, or otherwise work

on goods or materials that have been moved in or produced for interstate commerce,

                                           Page 5 of 24
                Lloyd Barrett, et al. v. Express Courier International, Inc., et al.
                             U.S.D.C. (E.D. Ark.) No. 4:18-cv-4-JM
                        Second Amended and Substituted Complaint
    Case 4:20-cv-00210 Document 40 Filed on 09/24/18 in TXSD Page 6 of 24



including, but not limited to, medical supplies and bio-materials, office supplies, auto

parts, manufactured goods, or office equipment for the benefit of Defendant.

                              IV.     FACTUAL ALLEGATIONS

        45.   Plaintiffs repeat and re-allege all previous paragraphs of this Complaint as

though fully incorporated in this section.

        46.   To carry out Defendant’s courier/delivery services, Defendant contracted

with couriers/drivers (referred to herein as “couriers” or “drivers”) during the relevant

time.

        47.   Each Plaintiff performed the basic duties of a courier during the relevant

time.

        48.   The basic duties of a courier include transporting and delivering packages

to Defendant’s customers.

        49.   To support its delivery business, Defendant maintained a hierarchy of

corporate level employees to oversee numerous field “branches,” which were located

throughout the southeastern United States and were divided into regions.

        50.   At the corporate level, Defendant maintained an operations department, a

compliance department, an accounting department, a marketing department, an

information-technology department, and an insurance department.

        51.   Defendant’s compliance department was responsible for determining what

was required to conduct Defendant’s courier services in compliance with applicable

laws and communicating those requirements to Defendant’s branches.

        52.   The compliance department was in charge of preparation, maintenance

and use of Defendant’s standard Agreement.

                                            Page 6 of 24
                 Lloyd Barrett, et al. v. Express Courier International, Inc., et al.
                              U.S.D.C. (E.D. Ark.) No. 4:18-cv-4-JM
                         Second Amended and Substituted Complaint
    Case 4:20-cv-00210 Document 40 Filed on 09/24/18 in TXSD Page 7 of 24



      53.     Defendant’s compliance department was also responsible for processing

all applications to become drivers and vetting them for minimum requirements.

      54.     Defendant’s corporate office had a Director of Business Analytics whose

job was to help the branch run more efficiently or perform research to improve business

operations.

      55.     Defendant also employed a Director of Operations to support branches

and sales by mining data and running reports for the company for maximizing profits.

      56.     Defendant also maintained a corporate-level dispatch office, with an

attachment of “Central Ops Specialists,” whose job was to monitor customer

requirements and make sure customer expectations were met.

      57.     Each branch had a senior employee in charge of the branch and drivers.

      58.     Branch Managers were responsible to ensure that Plaintiffs were

operating under applicable company, federal and state rules, regulations and operating

procedures.

      59.     Branch Managers were also responsible to ensure that customers were

receiving quality delivery services and that deliveries were made on time.

      60.     Branch Managers were required to facilitate branch standards reporting to

Defendant’s corporate office regarding how satisfied customers were with drivers’

delivery performance.

      61.     Defendant required Branch Managers to have management skills that

would allow them to ensure that drivers delivered packages on time and that customers

were satisfied and to bring in new customers or sell services.



                                           Page 7 of 24
                Lloyd Barrett, et al. v. Express Courier International, Inc., et al.
                             U.S.D.C. (E.D. Ark.) No. 4:18-cv-4-JM
                        Second Amended and Substituted Complaint
     Case 4:20-cv-00210 Document 40 Filed on 09/24/18 in TXSD Page 8 of 24



       62.    Branch Managers or whoever else was in charge of the facility had the

authority to terminate Plaintiffs.

       63.    Branch Managers were also tasked with managing the branch within

budgeted guidelines from Defendant’s corporate office and the parameters set by the

Regional Director.

       64.    Branch Managers were also responsible for maintaining a positive and

safe working environment for individuals working at the branch, which included drivers.

       65.    Branch Managers were in charge of assigning the routes to drivers.

       66.    Branch Managers, not drivers, were responsible for setting long and short-

term business objectives.

       67.    Defendant treated each Plaintiff as an “independent contractor” for

purposes of the FLSA.

       68.    Defendant required each and every potential courier to enter into a

standard agreement, which Defendant called an “independent contractor agreement” or

“owner-operator agreement.”

       69.    No Plaintiffs were involved in drafting the terms of Defendant’s standard

agreement.

       70.    Defendant required each driver                to   satisfy whatever       needs and

requirements Defendant’s customers had.

       71.    All drivers were hired to work for Defendant for an indefinite period of time.

       72.    Defendant expected each Plaintiff to wear a photo identification badge.

       73.    Plaintiffs were expected to follow Defendant’s dress code and guidelines.



                                            Page 8 of 24
                 Lloyd Barrett, et al. v. Express Courier International, Inc., et al.
                              U.S.D.C. (E.D. Ark.) No. 4:18-cv-4-JM
                         Second Amended and Substituted Complaint
     Case 4:20-cv-00210 Document 40 Filed on 09/24/18 in TXSD Page 9 of 24



       74.      Defendant leased warehouses in which drivers picked-up parcels for

delivery.

       75.      No drivers shared in Defendant’s profits.

       76.      No drivers shared in Defendant’s losses.

       77.      Defendant paid drivers through a combination of piece rates, route rates

or delivery rates.

       78.      Defendant entered into contracts with their customers, and no drivers

signed contracts with Defendant’s customers.

       79.      Defendant set prices to its customers for certain types of packages or

delivery routes without driver input or negotiation.

       80.      Defendant determined where to locate Defendant’s branches and offices

without driver input.

       81.      Defendant made decisions on advertising Defendant’s business without

driver input.

       82.      Plaintiffs did not advertise themselves as independent businesses.

       83.      Defendant made decisions on what new business to pursue or take

without driver input.

       84.      Drivers did not negotiate contracts or prices with Defendant’s customers.

       85.      Defendant expected drivers to follow Defendant’s policies regarding how

to track deliveries.

       86.      Defendant’s standard agreement required drivers to obtain and maintain

certain types of insurance.



                                             Page 9 of 24
                  Lloyd Barrett, et al. v. Express Courier International, Inc., et al.
                               U.S.D.C. (E.D. Ark.) No. 4:18-cv-4-JM
                          Second Amended and Substituted Complaint
    Case 4:20-cv-00210 Document 40 Filed on 09/24/18 in TXSD Page 10 of 24



       87.    Defendant’s standard agreement required drivers to use communication

equipment that was compatible with Defendant’s operating system.

       88.    Defendant’s standard agreement gave Defendant the sole discretion to

investigate, adjudicate and charge drivers for delays, shortages, mis-deliveries, and

claims related to lost, damaged or contaminated loads.

       89.    Defendant’s standard agreement required drivers to obtain written consent

from Defendant before operating their vehicles for another motor carrier.

       90.    If a customer had a complaint about any driver, the customer was

supposed to complain to someone at the branch or to corporate headquarters, not to

the driver.

       91.    Defendant generally did not pay any drivers any overtime premium for

hours that they worked over forty hours per week.

       92.    If any driver worked more than forty hours per week, Defendant’s policy

was not to pay that driver an overtime premium of one and one half times the driver’s

regular rate for the hours over forty.

       93.    Defendant had a general practice keeping no contemporaneous records of

time that drivers performed courier/delivery services on Defendant’s behalf.

       94.    After deducting for expenses related to the operation of at least some

Plaintiffs’ vehicles in the course of performing job duties for Defendant, some Plaintiffs’

pay regularly fell below the minimum wages required by the FLSA.

       95.    Upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, after deducting the product of the

IRS Mileage Rate and the miles Plaintiff Lloyd Barrett drove from the pay that Plaintiff

                                            Page 10 of 24
                 Lloyd Barrett, et al. v. Express Courier International, Inc., et al.
                              U.S.D.C. (E.D. Ark.) No. 4:18-cv-4-JM
                         Second Amended and Substituted Complaint
    Case 4:20-cv-00210 Document 40 Filed on 09/24/18 in TXSD Page 11 of 24



received from Defendant, Plaintiff earned less than $7.25 per hour in at least one

workweek within the applicable statute of limitations.

       96.        Upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, Plaintiff Mable Bracamonte

performed her courier duties for Express for more than forty hours in at least one

workweek within the applicable statute of limitations. Also, upon information and belief,

to be confirmed after a reasonable opportunity for further investigation and discovery,

after deducting the product of the IRS Mileage Rate and the miles Plaintiff drove from

the pay that Plaintiff received from Defendant, Plaintiff earned less than $7.25 per hour

in at least one workweek within the applicable statute of limitations.

       97.        Upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, Plaintiff Dana Cash worked more

than forty hours in at least one workweek within the applicable statute of limitations.

Also, upon information and belief, to be confirmed after a reasonable opportunity for

further investigation and discovery, after deducting the product of the IRS Mileage Rate

and the miles Plaintiff drove from the pay that Plaintiff received from Defendant, Plaintiff

earned less than $7.25 per hour in at least one workweek within the applicable statute

of limitations.

       98.        Upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, Plaintiff Kendall Craig worked more

than forty hours in at least one workweek within the applicable statute of limitations.

Also, upon information and belief, to be confirmed after a reasonable opportunity for

further investigation and discovery, after deducting the product of the IRS Mileage Rate

                                               Page 11 of 24
                    Lloyd Barrett, et al. v. Express Courier International, Inc., et al.
                                 U.S.D.C. (E.D. Ark.) No. 4:18-cv-4-JM
                            Second Amended and Substituted Complaint
    Case 4:20-cv-00210 Document 40 Filed on 09/24/18 in TXSD Page 12 of 24



and the miles Plaintiff drove from the pay that Plaintiff received from Defendant, Plaintiff

earned less than $7.25 per hour in at least one workweek within the applicable statute

of limitations.

       99.        Upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, Plaintiff Robert Davis worked more

than forty hours in at least one workweek within the applicable statute of limitations.

Also, upon information and belief, to be confirmed after a reasonable opportunity for

further investigation and discovery, after deducting the product of the IRS Mileage Rate

and the miles Plaintiff drove from the pay that Plaintiff received from Defendant, Plaintiff

earned less than $7.25 per hour in at least one workweek within the applicable statute

of limitations.

       100.       Upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, after deducting the product of the

IRS Mileage Rate and the miles Plaintiff Matt Fosse drove from the pay that Plaintiff

received from Defendant, Plaintiff earned less than $7.25 per hour in at least one

workweek within the applicable statute of limitations.

       101.       Upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, Plaintiff Timothy George worked

more than forty hours in at least one workweek within the applicable statute of

limitations.      Also, upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, after deducting the product of the

IRS Mileage Rate and the miles Plaintiff drove from the pay that Plaintiff received from



                                               Page 12 of 24
                    Lloyd Barrett, et al. v. Express Courier International, Inc., et al.
                                 U.S.D.C. (E.D. Ark.) No. 4:18-cv-4-JM
                            Second Amended and Substituted Complaint
    Case 4:20-cv-00210 Document 40 Filed on 09/24/18 in TXSD Page 13 of 24



Defendant, Plaintiff earned less than $7.25 per hour in at least one workweek within the

applicable statute of limitations.

       102.       Upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, Plaintiff Broderick Ghant worked

more than forty hours in at least one workweek within the applicable statute of

limitations.      Also, upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, after deducting the product of the

IRS Mileage Rate and the miles Plaintiff drove from the pay that Plaintiff received from

Defendant, Plaintiff earned less than $7.25 per hour in at least one workweek within the

applicable statute of limitations.

       103.       Upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, after deducting the product of the

IRS Mileage Rate and the miles Plaintiff Jennie Hampton-Duncan drove from the pay

that Plaintiff received from Defendant, Plaintiff earned less than $7.25 per hour in at

least one workweek within the applicable statute of limitations.

       104.       Upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, Plaintiff Toby Holliday worked more

than forty hours in at least one workweek within the applicable statute of limitations.

Also, upon information and belief, to be confirmed after a reasonable opportunity for

further investigation and discovery, after deducting the product of the IRS Mileage Rate

and the miles Plaintiff drove from the pay that Plaintiff received from Defendant, Plaintiff

earned less than $7.25 per hour in at least one workweek within the applicable statute

of limitations.

                                               Page 13 of 24
                    Lloyd Barrett, et al. v. Express Courier International, Inc., et al.
                                 U.S.D.C. (E.D. Ark.) No. 4:18-cv-4-JM
                            Second Amended and Substituted Complaint
    Case 4:20-cv-00210 Document 40 Filed on 09/24/18 in TXSD Page 14 of 24



       105.       Upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, after deducting the product of the

IRS Mileage Rate and the miles Plaintiff Carl Hyde drove from the pay that Plaintiff

received from Defendant, Plaintiff earned less than $7.25 per hour in at least one

workweek within the applicable statute of limitations.

       106.       Upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, Plaintiff Ebony Knox worked more

than forty hours in at least one workweek within the applicable statute of limitations.

Also, upon information and belief, to be confirmed after a reasonable opportunity for

further investigation and discovery, after deducting the product of the IRS Mileage Rate

and the miles Plaintiff drove from the pay that Plaintiff received from Defendant, Plaintiff

earned less than $7.25 per hour in at least one workweek within the applicable statute

of limitations.

       107.       Upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, after deducting the product of the

IRS Mileage Rate and the miles Plaintiff drove from the pay that Plaintiff received from

Defendant, Plaintiff Logan Lange earned less than $7.25 per hour in at least one

workweek within the applicable statute of limitations.

       108.       Upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, Plaintiff Stephanie Martin worked

more than forty hours in at least one workweek within the applicable statute of

limitations.      Also, upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, after deducting the product of the

                                               Page 14 of 24
                    Lloyd Barrett, et al. v. Express Courier International, Inc., et al.
                                 U.S.D.C. (E.D. Ark.) No. 4:18-cv-4-JM
                            Second Amended and Substituted Complaint
    Case 4:20-cv-00210 Document 40 Filed on 09/24/18 in TXSD Page 15 of 24



IRS Mileage Rate and the miles Plaintiff drove from the pay that Plaintiff received from

Defendant, Plaintiff earned less than $7.25 per hour in at least one workweek within the

applicable statute of limitations.

       109.       Upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, Plaintiff Janna Marting worked more

than forty hours in at least one workweek within the applicable statute of limitations.

Also, upon information and belief, to be confirmed after a reasonable opportunity for

further investigation and discovery, after deducting the product of the IRS Mileage Rate

and the miles Plaintiff drove from the pay that Plaintiff received from Defendant, Plaintiff

earned less than $7.25 per hour in at least one workweek within the applicable statute

of limitations.

       110.       Upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, Plaintiff Chris McGrew worked more

than forty hours in at least one workweek within the applicable statute of limitations.

       111.       Upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, Plaintiff Aaron McRoberts worked

more than forty hours in at least one workweek within the applicable statute of

limitations.      Also, upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, after deducting the product of the

IRS Mileage Rate and the miles Plaintiff drove from the pay that Plaintiff received from

Defendant, Plaintiff earned less than $7.25 per hour in at least one workweek within the

applicable statute of limitations.



                                               Page 15 of 24
                    Lloyd Barrett, et al. v. Express Courier International, Inc., et al.
                                 U.S.D.C. (E.D. Ark.) No. 4:18-cv-4-JM
                            Second Amended and Substituted Complaint
    Case 4:20-cv-00210 Document 40 Filed on 09/24/18 in TXSD Page 16 of 24



       112.    Upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, Plaintiff Anthony Moorman worked

more than forty hours in at least one workweek within the applicable statute of

limitations.   Also, upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, after deducting the product of the

IRS Mileage Rate and the miles Plaintiff drove from the pay that Plaintiff received from

Defendant, Plaintiff earned less than $7.25 per hour in at least one workweek within the

applicable statute of limitations.

       113.    Upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, Plaintiff Walter Moran Moorman

worked more than forty hours in at least one workweek within the applicable statute of

limitations.   Also, upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, after deducting the product of the

IRS Mileage Rate and the miles Plaintiff drove from the pay that Plaintiff received from

Defendant, Plaintiff earned less than $7.25 per hour in at least one workweek within the

applicable statute of limitations.

       114.    Upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, Plaintiff Mario Moreno worked more

than forty hours in at least one workweek within the applicable statute of limitations.

Also, upon information and belief, to be confirmed after a reasonable opportunity for

further investigation and discovery, after deducting the product of the IRS Mileage Rate

and the miles Plaintiff drove from the pay that Plaintiff received from Defendant, Plaintiff



                                            Page 16 of 24
                 Lloyd Barrett, et al. v. Express Courier International, Inc., et al.
                              U.S.D.C. (E.D. Ark.) No. 4:18-cv-4-JM
                         Second Amended and Substituted Complaint
    Case 4:20-cv-00210 Document 40 Filed on 09/24/18 in TXSD Page 17 of 24



earned less than $7.25 per hour in at least one workweek within the applicable statute

of limitations.

       115.       Upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, Plaintiff Robert Reid worked more

than forty hours in at least one workweek within the applicable statute of limitations.

Also, upon information and belief, to be confirmed after a reasonable opportunity for

further investigation and discovery, after deducting the product of the IRS Mileage Rate

and the miles Plaintiff drove from the pay that Plaintiff received from Defendant, Plaintiff

earned less than $7.25 per hour in at least one workweek within the applicable statute

of limitations.

       116.       Upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, Plaintiff Kasi Ross worked more than

forty hours in at least one workweek within the applicable statute of limitations. Also,

upon information and belief, to be confirmed after a reasonable opportunity for further

investigation and discovery, after deducting the product of the IRS Mileage Rate and the

miles Plaintiff drove from the pay that Plaintiff received from Defendant, Plaintiff earned

less than $7.25 per hour in at least one workweek within the applicable statute of

limitations.

       117.       Upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, Plaintiff Billy Roy worked more than

forty hours in at least one workweek within the applicable statute of limitations. Also,

upon information and belief, to be confirmed after a reasonable opportunity for further

investigation and discovery, after deducting the product of the IRS Mileage Rate and the

                                               Page 17 of 24
                    Lloyd Barrett, et al. v. Express Courier International, Inc., et al.
                                 U.S.D.C. (E.D. Ark.) No. 4:18-cv-4-JM
                            Second Amended and Substituted Complaint
    Case 4:20-cv-00210 Document 40 Filed on 09/24/18 in TXSD Page 18 of 24



miles Plaintiff drove from the pay that Plaintiff received from Defendant, Plaintiff earned

less than $7.25 per hour in at least one workweek within the applicable statute of

limitations.

       118.       Upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, after deducting the product of the

IRS Mileage Rate and the miles Plaintiff Norris Russell drove from the pay that Plaintiff

received from Defendant, Plaintiff earned less than $7.25 per hour in at least one

workweek within the applicable statute of limitations.

       119.       Upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, Plaintiff Sam Shope worked more

than forty hours in at least one workweek within the applicable statute of limitations.

Also, upon information and belief, to be confirmed after a reasonable opportunity for

further investigation and discovery, after deducting the product of the IRS Mileage Rate

and the miles Plaintiff drove from the pay that Plaintiff received from Defendant, Plaintiff

earned less than $7.25 per hour in at least one workweek within the applicable statute

of limitations.

       120.       Upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, Plaintiff Connie Stark worked more

than forty hours in at least one workweek within the applicable statute of limitations.

Also, upon information and belief, to be confirmed after a reasonable opportunity for

further investigation and discovery, after deducting the product of the IRS Mileage Rate

and the miles Plaintiff drove from the pay that Plaintiff received from Defendant, Plaintiff



                                               Page 18 of 24
                    Lloyd Barrett, et al. v. Express Courier International, Inc., et al.
                                 U.S.D.C. (E.D. Ark.) No. 4:18-cv-4-JM
                            Second Amended and Substituted Complaint
    Case 4:20-cv-00210 Document 40 Filed on 09/24/18 in TXSD Page 19 of 24



earned less than $7.25 per hour in at least one workweek within the applicable statute

of limitations.

       121.       Upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, Plaintiff James Weaver worked more

than forty hours in at least one workweek within the applicable statute of limitations.

Also, upon information and belief, to be confirmed after a reasonable opportunity for

further investigation and discovery, after deducting the product of the IRS Mileage Rate

and the miles Plaintiff drove from the pay that Plaintiff received from Defendant, Plaintiff

earned less than $7.25 per hour in at least one workweek within the applicable statute

of limitations.

       122.       Upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, Plaintiff Seth Williamson worked

more than forty hours in at least one workweek within the applicable statute of

limitations.      Also, upon information and belief, to be confirmed after a reasonable

opportunity for further investigation and discovery, after deducting the product of the

IRS Mileage Rate and the miles Plaintiff drove from the pay that Plaintiff received from

Defendant, Plaintiff earned less than $7.25 per hour in at least one workweek within the

applicable statute of limitations.

       123.       Defendant knew or should have known that the job duties of Plaintiffs

required Plaintiffs to work hours in excess of forty per week, yet Defendant failed and

refused to compensate Plaintiffs for their work as required by the FLSA.

       124.       At all times relevant hereto, Defendant was aware of the minimum wage

and overtime requirements of the FLSA.

                                               Page 19 of 24
                    Lloyd Barrett, et al. v. Express Courier International, Inc., et al.
                                 U.S.D.C. (E.D. Ark.) No. 4:18-cv-4-JM
                            Second Amended and Substituted Complaint
    Case 4:20-cv-00210 Document 40 Filed on 09/24/18 in TXSD Page 20 of 24



       125.     Defendant purposefully and knowingly classified drivers as “independent

contractors.”

                             VI.    FIRST CAUSE OF ACTION
                          (Individual Claims for FLSA Violations)

       126.     Plaintiffs repeat and re-allege all the preceding paragraphs of this

Complaint as if fully set forth in this section.

       127.     29 U.S.C. §§ 206 and 207 require any enterprise engaged in commerce to

pay all employees a minimum wage for all hours worked up to forty (40) in one week

and to pay one and one-half times regular wages for all hours worked over forty (40)

hours in a week, unless an employee meets certain exemption requirements of 29

U.S.C. § 213 and all accompanying Department of Labor regulations.

       128.     Defendant misclassified all Plaintiffs as independent contractors.

       129.     The costs that Plaintiffs incurred, including, but not limited to, use of their

own vehicles, for the benefit of Defendant, caused some Plaintiffs’ free and clear pay to

fall below minimum wages.

       130.     Defendant also unlawfully refrained from paying Plaintiffs an overtime

premium for hours over forty per week.

       131.     Defendant’s failure to pay each Plaintiff all minimum and overtime wages

owed and failure to reimburse each Plaintiff’s work-related vehicle expenses was willful.

       132.     By reason of the unlawful acts alleged herein, Defendant is liable to each

Plaintiff for monetary damages, liquidated damages, and costs, including reasonable

attorneys’ fees, for all violations that occurred within the three (3) years prior to the filing

of this Complaint.


                                             Page 20 of 24
                  Lloyd Barrett, et al. v. Express Courier International, Inc., et al.
                               U.S.D.C. (E.D. Ark.) No. 4:18-cv-4-JM
                          Second Amended and Substituted Complaint
    Case 4:20-cv-00210 Document 40 Filed on 09/24/18 in TXSD Page 21 of 24



                           VII.  SECOND CAUSE OF ACTION
                     (Individual Claims for Violations of the AMWA)

       133.   Plaintiffs repeat and re-allege all previous paragraphs of this Complaint as

though fully incorporated in this section.

       134.   Plaintiffs assert this claim for damages and declaratory relief pursuant to

the AMWA, Arkansas Code Annotated § 11-4-201, et seq.

       135.   Defendant misclassified all drivers as independent contractors.

       136.   The costs that some Plaintiffs incurred, including, but not limited to, use of

their own vehicles, for the benefit of Defendant, caused some Plaintiffs’ free and clear

pay to fall below minimum wages.

       137.   Defendant also unlawfully refrained from paying Plaintiffs an overtime

premium for hours over forty per week.

       138.   Defendant’s failure to pay Plaintiffs all minimum and overtime wages owed

and failure to reimburse drivers’ work-related vehicle expenses was willful.

       139.   By reason of the unlawful acts alleged herein, Defendant is liable to each

Plaintiff for monetary damages, liquidated damages, and costs, including reasonable

attorneys’ fees, for all violations that occurred within the three (3) years prior to the filing

of this Complaint.

                                VIII.   PRAYER FOR RELIEF

       WHEREFORE, premises considered, Plaintiffs Lloyd Barrett, Mable Bracamonte,

Dana Cash, Kendall Craig, Robert Davis, Matt Fosse, Timothy George, Broderick

Ghant, Jennie Hampton-Duncan, Toby Holliday, Carl Hyde, Ebony Knox, Logan Lange,

Stephanie Martin, Janna Marting, Chris McGrew, Anthony Moorman, Walter Moran,

Mario Moreno, Robert Reid, Kasi Ross, Billy Roy, Norris Russell, Sam Shope, Connie
                                            Page 21 of 24
                 Lloyd Barrett, et al. v. Express Courier International, Inc., et al.
                              U.S.D.C. (E.D. Ark.) No. 4:18-cv-4-JM
                         Second Amended and Substituted Complaint
    Case 4:20-cv-00210 Document 40 Filed on 09/24/18 in TXSD Page 22 of 24



Stark, James Weaver, Seth Williamson and Aaron McRoberts, respectfully pray for

declaratory relief and damages as follows:

       A.     That each Defendant be summoned to appear and answer herein;

       B.     That each Defendant be required to account to Plaintiffs and the Court for

all of the hours worked by Plaintiffs and all monies paid to them;

       C.     A declaratory judgment that Defendant’s practices alleged herein violate

the FLSA, the AMWA, and attendant regulations;

       D.     Judgment for damages for all unpaid minimum wages and overtime

compensation under the FLSA, the AMWA, and attendant regulations;

       E.     Judgment for liquidated damages pursuant to the same laws in an amount

equal to all unpaid minimum wages and overtime compensation owed to Plaintiffs

during the applicable statutory period;

       F.     An order directing Defendant to pay Plaintiffs prejudgment interest,

reasonable attorney’s fees and all costs connected with this action;

       G.     A trial by jury; and

       H.     Such other and further relief as this Court may deem just and proper.




                                           Page 22 of 24
                Lloyd Barrett, et al. v. Express Courier International, Inc., et al.
                             U.S.D.C. (E.D. Ark.) No. 4:18-cv-4-JM
                        Second Amended and Substituted Complaint
Case 4:20-cv-00210 Document 40 Filed on 09/24/18 in TXSD Page 23 of 24



                                                Respectfully submitted,

                                                LLOYD BARRETT, MABLE
                                                BRACAMONTE, DANA CASH,
                                                KENDALL CRAIG, ROBERT DAVIS,
                                                MATT FOSSE, TIMOTHY GEORGE,
                                                BRODERICK GHANT, JENNIE
                                                HAMPTON-DUNCAN, TOBY HOLLIDAY,
                                                CARL HYDE, EBONY KNOX, LOGAN
                                                LANGE, STEPHANIE MARTIN, JANNA
                                                MARTING, CHRIS McGREW, ANTHONY
                                                MOORMAN, WALTER MORAN, MARIO
                                                MORENO, ROBERT REID, KASI ROSS,
                                                BILLY ROY, NORRIS RUSSELL, SAM
                                                SHOPE, CONNIE STARK, JAMES
                                                WEAVER, SETH WILLIAMSON, and
                                                AARON McROBERTS, PLAINTIFFS

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                                     Page 23 of 24
          Lloyd Barrett, et al. v. Express Courier International, Inc., et al.
                       U.S.D.C. (E.D. Ark.) No. 4:18-cv-4-JM
                  Second Amended and Substituted Complaint
   Case 4:20-cv-00210 Document 40 Filed on 09/24/18 in TXSD Page 24 of 24



                               CERTIFICATE OF SERVICE
       I, the undersigned counsel, do hereby certify that on the date imprinted by the
CM/ECF system, a copy of the foregoing SECOND AMENDED COMPLAINT was filed
via the CM/ECF system, which will provide notice to the following:

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                                          Page 24 of 24
               Lloyd Barrett, et al. v. Express Courier International, Inc., et al.
                            U.S.D.C. (E.D. Ark.) No. 4:18-cv-4-JM
                       Second Amended and Substituted Complaint
